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UNITED STATES DIS'I`RICT COURT 7;‘,/

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)
NATHAN!EL SPENCER III )
Plaintiff. )
) Case No
vs )
)
EXPERIAN INFORMATION ) _ _ 4
soLUTIoNs, INC.; EQUIFAX, INC.; ) ;;J£'§:o::
TRANS UNIoN, LLC. ) Judge u_S Di_.,m.:t.iudge
Defendants )
)
) TRIA_L BY JURY DEMANDED
)

COMPLAINT FOR VIOLATIONS OF THE FCRA

JURISDICTION
This court hasjurisdiction under 15 U.S.C. § 1681p and 28 U.S.C § 1331.
Ail conditions precedent to the bringing of this action have been performed

PARTIES

. The PlaintiH` in this lawsuit is Nathanjel Spencer III, a natural person, Who resides in

Kalamazoo County, Michigari.

Defendant Experian Information Solutions, Inc. (Experian) is a Consumer Reporting Agency
with corporate offices at 475 Anton Blvd., Costa Mesa, CA 92626.

Defendant Equifax, Inc. (Equifax) is a Consumer Reporting Agency with corporate offices at
1550 Peachtree Street, Atlanta, GA 30309.

Defendant Trans Union, LLC (Trans Union) is a Consumer Reporting Agency With corporate

offices at 555 W. Aclams Street Chicago, IL 60661.

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VENUE
7. The occurrences which give rise to this action occurred in Kalamazoo County, Michigan and
Plaintiff` resides in Kalamazoo County, Michigan.

8. Venue is proper in the Western District of Michigan.

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9. Plaintiff made a written request sent by certified mail for a copy of his full consumer file
disclosure which was received by Experian on or around September 22, 2017. See Exhibit 1
attached.

10. In response to his very specific request for his full consumer file disclosure Plaintiff
received a credit report which was not responsive to his request.

11. Plaintiff made a written request sent by certified mail for a copy of his full consumer file
disclosure which was received by Equifax on or around September 24, 2017. See Exhibit l
attached.

12. In response to his very specific request for his full consumer file disclosure Plaintiff
received a credit report which was not responsive to his request.

13. Plaintiff made a written request sent by certified mail for a copy of his full consumer file
disclosure which was received by Trans Union on or around September 25, 2017. See
Exhibit 1 attached.

14. In response to his very specific request for his full consumer file disclosure Plaintiff
received a credit report which Was not responsive to his request.

15. Plaintiff, in making the exact same request of each of the Defendants, specified in great detail

exactly what specific sections of the Fair Credit Reporting Act (FCRA) requires each

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Defendant to provide a full consumer file disclosure at least once per year at no charge
when a request is made by a consumer. See Exhibit 1 attached

16. Plaintiff’ s request for a full consumer file disclosure from each Defendant was the first
request for a disclosure within 12 months with identification provided in the form of a copy
of his social security card and current state driver’s license attached.

17. Af’cer receiving a response h'om each Defendant that did not comply with the request made,
Plaintiff made a second and final request for a full consumer file disclosure, pursuant to the
FCRA, of each Defendant. See Exhibit 2 attached. A copy of the initial letter was sent with
the second request for clarification along with identification in the form of a copy of
Plaintiff’s social security card and driver’s license for identification

18. At no time did Plaintiff make any request for a credit report from the Defendants but instead
was very specific in requesting a full consumer file disclosure pursuant to 15 U.S.C. §
1681g(a)(l) as outlined in the initial request.

19. In response to Plaintiff’s second request for a full consumer file disclosure to Experian he
received a credit report which was not responsive to his request as required by 15 U.S.C. §
1681 g(a)(l).

20. In response to Plaintiff’s second request for a full consumer file disclosure to Equifax he
received a letter informing him that he was not eligible for a free copy of his credit file which
was not responsive to his request as required by 15 U.S.C. § 1681 g(a)(l). See Exhibit 3
attached

21. ln response to Plaintiff’s second request for a full consumer file disclosure to Trans Union
he did not receive a response which was not responsive to his request as required by 15

U.s.C. § lesig(a)(i).

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22. Upon information and belief there is substantial information relating to the Plaintiff that is
contained in all Defendants’ files that has not been disclosed to him including, but not limited
to, information that was previously shown in his credit reports and additional information
that is provided to prospective creditors, insurers or employers who request information on
Plaintiff that Plaintiff has never seen or is aware of.

23. Upon information and belief, the information that is not disclosed to PlaintiH` contains
negative codes among other things that are provided to prospective creditors, insurers or
employers which directly affect how that prospective creditor, insurer or employer would
view the Plaintiif in terms of granting credit, rating insurance policies or providing
employment

24. This undisclosed information has never been provided to Plaintiff even when it was
requested so he could examine it for accuracy. It could be blatantly false or at the least
misleading and without disclosure by the Defendants he would not have the opportunity to
dispute the accuracy or veracity of it which he is legally entitled to do under the law.
Disclosure of false or misleading information to prospective creditors, insurers or employers
that Plaintiff knows nothing about could paint him in a false light where he could be denied
credit or employment or pay higher interest rates on credit if it was granted and higher
premiums for insurance harming him substantially.

25. Upon information and belief Defendants have far more information relating to Plaintiff in
their files and databases including archived information that Plaintiff` has never had access to
or had the opportunity to review for accuracy that is provided to others when they make a
request for his file. This information has been properly requested by Plaintiff multiple times

and is required to be disclosed under 15 U.S.C. § 1681g(a)(l) when a proper request is made

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by a consumer. The Defendants have repeatedly refused to provide Plaintifi` with his full
consumer file disclosure after multiple requests His requests were very specific in nature
and could not possibly be misconstrued as a request for his credit report by Defendants.

26. Because Plaintiff has not had access to that undisclosed information he has therefore had no
opportunity to review it and dispute the accuracy of it if it is found to be false, yet it is
provided to potential creditors, insurers and employers without his knowledge and purposely
and illegally concealed from him.

27. Upon information and belief when a report is provided by the Defendants to a potential
creditor, insurer or employer that information is provided in an encrypted format with
instructions to the user that the consumer is NOT to be shown that information There is no
prohibition in the law that information obtained by a user can be provided to the consumer if
a request for it is made yet instructions from the Defendants are to the contrary. Why?

28. One can only surmise that there must be some nefarious reason why that information should
not be provided to the consumer that is sent to the user in an encrypted format with
instructions to the user to conceal it from the consumer. It obviously must contain
information that the consumer has never seen and the consumer reporting agencies don’t
want him or her to see for some unknown reason. This is obviously not in concert with the
mandate of full disclosure clearly articulated in the FCRA in unambiguous plain language

29. Plaintiff made multiple specific requests of each of the Defendants for a full consumer file
disclosure as clearly stated in 15 U.S.C. § 1681g(a)(1) and all Defendants have failed to
comply with the requests and are therefore in violation of the FCRA.

30. The actions of all Defendants occurred within the past 2 years and are within the Statute of

Limitations under the FCRA.

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COUNT l

VIOLATION OF THE FAIR CREDIT REPORTING ACTl 15 U.S.C. §1681, WILLFUL
NON-COMPLIANCE BY DEFENDANT EXPERIAN INFORMATION SOLUTIONS

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31. Paragraphs l through 29 are re-alleged as though fully set forth herein.
32. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § l681a(c).
33. Experian is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §
1681a(f).
34. Experian repeatedly failed to comply with Plaintifi’s multiple requests for a full consumer
file disclosure pursuant to 15 U.S.C. § 1681g(a)(l).
WHEREFORE, Plaintiff demands judgment for damages against Experian for statutory

damages of 81000.00, any attomey’s fees, and all costs pursuant to 15 U.S.C. § 1681n.

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VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681, WILLFUL
NON-COMPLIANCE BY DEFENDANT EQUIFAX, INC.

35. Paragraphs l through 29 are re-alleged as though fully set forth herein.

36. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681a(c).

37. Trans Union is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §
l681a(t).

38. Trans Union repeatedly failed to comply with Plaintiff’s multiple requests for a full

consumer file disclosure pursuant to 15 U.S.C. § l681g(a)(1).

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WI-IEREFORE, Plaintiff demands judgment for damages against Trans Union for
statutory damages of 81000.00, any attomey’s fees, and all costs pursuant to 15 U.S.C. §

1681n.

COUNT III

VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681, WILLFUL

NON-COMPLIANCE BY DEFENDANT TRANS UNION LLC

39. Paragraphs 1 through 29 are re-alleged as though fully set forth herein.

40. Plaintiff is a consumer Within the meaning of the FCRA, 15 U.S.C. § 1681a(c).

41. Equifax is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §
1681a(f).

42. Equifax repeatedly failed to comply with Plaintiff’ s multiple requests for a full consumer file
disclosure pursuant to 15 U.S.C. § 1681 g(a)(l).

WHEREFORE, Plaintif`f demands judgment for damages against EQUIFAX INC. for

statutory damages of $l 000.00, any attorney’s fees, and all costs pursuant to 15 U.S.C. §

1681n.

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DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.

Dated: February 23, 2018

Respectfully Submitted, »

Nathaniel Spencer 111

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